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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
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UNITED STATES OF AMERICA,                           CASE NO. 14CR3000-DMS
                                                                                                         n~ OI'PLITY
                               Plaintiff,
                 vs.                                JUDGMENT OF DISMISSAL
SONJA NUNEZ (2) ,

                             Defendant.


            IT APPEARING that the defendant is now entitled to be discharged for the reason that:

    an indictment has been filed in another case against the defendant and the Court has granted the
    motion of the Government for dismissal ofthis case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion ofthe Government for dismissal without prejudice; or

    the Court has granted the motion of the defendant for dismissal/judgment of acquittal; or

    a jury has been waived, and the Court has found the defendant not guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Information:

       21 USC 841 (a)(l)

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

DATED: NOVEMBER 21, 2014                                   ~h,~
                                                        Hon. DANA M. SABRA W
                                                        UNITED STATES DISTRICT JUDGE
